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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                       Case No. 13-cv-80745-MIDDLEBROOKS/BRANNON


     MITSUBISHI ELECTRIC CORP. (alternatively
     named MITSUBISHI DENKI KABUSHIKI
     KAISHA), KONINKLIJKE PHILIPS N.V., and
     THOMSON LICENSING,

                    Plaintiffs,

     v.

     MOTOROLA MOBILITY LLC,

                    Defendant.



          DEFENDANT MOTOROLA MOBILITY LLC’S ANSWER, DEFENSES AND
                      COUNTERCLAIMS TO PLAINTIFFS’
                    COMPLAINT FOR PATENT INFRINGEMENT

           Pursuant to Fed. R. Civ. P. 7, 8, 9, 12, and 13, Defendant Motorola Mobility LLC

    (“Motorola”) provides its Answer, Defenses, and Counterclaims to Complaint of

    Plaintiffs Mitsubishi Electric Corp., Koninklijke Philips N.V., and Thomson Licensing

    as follows:

                                              PARTIES

          1.      Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 1 of the Complaint and, as such, denies the same.

          2.      Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 2 of the Complaint and, as such, denies the same.

          3.      Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 3 of the Complaint and, as such, denies the same.
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          4.      Motorola admits that Motorola is a limited liability company organized under the

   laws of Delaware and that Motorola maintains a place of business in Plantation, Florida.

                                   JURISDICTION AND VENUE

          5.      Motorola admits that Plaintiff’s Complaint alleges patent infringement under Title

   35 of the United States Code.

          6.      Motorola admits that 28 U.S.C. §§ 1331 and 1338(a) grant this Court subject

   matter jurisdiction over such claims.

          7.      Motorola admits that venue is proper in this Judicial District under 28 U.S.C.

   §§ 1391(c) and 1400(b). Motorola denies the remaining allegations of paragraph 7.

          8.      Motorola does not contest personal jurisdiction in this District solely for the

   purposes of this action. Motorola admits that it conducts business in the state of Florida and is

   registered to do business in Florida. Motorola denies the remaining allegations of paragraph 8.

                                      THE PATENTS-IN-SUIT

          9.      Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 7,376,184 (the

   ’184 patent) to their Complaint as Exhibit 1. Motorola admits that the patent bears the title

   “High-Efficiency Encoder and Video Information Recording/Reproducing Apparatus” and an

   issue date of May 20, 2008. Upon information and belief, Motorola denies that the ’184 patent

   was duly and legally issued. Motorola denies any remaining allegations in paragraph 9.

          10.     Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 6,097,759 (the

   ’759 patent) to their Complaint as Exhibit 2. Motorola admits that the patent bears the title

   “Image Signal Coding System” and an issue date of August 1, 2000. Upon information and

   belief, Motorola denies that the ’759 patent was duly and legally issued. Motorola denies any

   remaining allegations in paragraph 10.




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          11.    Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 7,362,805 (the

   ’805 patent) to their Complaint as Exhibit 3. Motorola admits that the patent bears the title

   “High-Efficiency Encoder and Video Information Recording/Reproducing Apparatus” and an

   issue date of April 22, 2008. Upon information and belief, Motorola denies that the ’805 patent

   was duly and legally issued. Motorola denies any remaining allegations in paragraph 11.

          12.    Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 5,606,539 (the

   ’539 patent) to their Complaint as Exhibit 4. Motorola admits that the patent bears the title

   “Method and Apparatus for Encoding and Decoding an Audio and/or Video Signal, and a Record

   Carrier for Use with Such Apparatus” and an issue date of February 25, 1997. Upon information

   and belief, Motorola denies that the ’805 patent was duly and legally issued. Motorola denies any

   remaining allegations in paragraph 12.

          13.    Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 5,333,135 (the

   ’135 patent) to their Complaint as Exhibit 5. Motorola admits that the patent bears the title

   “Identification of a Data Stream Transmitted as a Sequence of Packets” and an issue date of July

   26, 1994. Upon information and belief, Motorola denies that the ’135 patent was duly and

   legally issued. Motorola denies any remaining allegations in paragraph 13.

          14.    Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 5,422,676 (the

   ’676 patent) to their Complaint as Exhibit 6. Motorola admits that the patent bears the title

   “System for Coding An Image Representative Signal” and an issue date of June 6, 1995. Upon

   information and belief, Motorola denies that the ’676 patent was duly and legally issued.

   Motorola denies any remaining allegations in paragraph 14.

          15.    Motorola admits that Plaintiffs attached a copy of U.S. Patent No. 5,459,789 (the

   ’789 patent) to their Complaint as Exhibit 7. Motorola admits that the patent bears the title




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   “Packet TV Program Component Detector” and an issue date of October 17, 1995. Upon

   information and belief, Motorola denies that the ’789 patent was duly and legally issued.

   Motorola denies any remaining allegations in paragraph 15.

                                     THE MPEG-2 STANDARD

          16.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 16 of the Complaint and, as such, denies the same.

          17.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 17 of the Complaint and, as such, denies the same.

                                   ALLEGED INFRINGEMENT

          18.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 18 of the Complaint and, as such, denies the same.

          19.     Motorola admits that it has made, used, offered to sell, sold, imported, licensed

   and/or supplied products which comply with the MPEG-2 Standard.              Motorola denies the

   remaining allegations of paragraph 19.

          20.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 20 of the Complaint and, as such, denies the same.

          21.     Denied.

          22.     Denied.

          23.     Denied.

                            LICENSING OF THE PATENTS-IN-SUIT

          24.     Motorola admits that MPEG LA offers a license for a pool of patents for

   practicing the MPEG-2 Standard. Motorola is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations of paragraph 24 of the Complaint and, as

   such, denies the same.


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          25.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 25 of the Complaint and, as such, denies the same.

          26.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 26 of the Complaint and, as such, denies the same.

          27.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 27 of the Complaint and, as such, denies the same.

          28.     Motorola admits that one of its former subsidiaries has been a patent owner with

   patents in the MPEG-2 pool license. Motorola denies the remaining allegations of paragraph 28.

          29.     Motorola admits that one of its subsidiaries received royalties from the MPEG-2

   pool license and/or profits from the overall licensing of MPEG LA from 2000 until 2010.

   Motorola is without knowledge or information sufficient to form a belief as to the truth of the

   allegations of paragraph 29 and, as such, denies the same.

          30.     Motorola admits that one of its former subsidiaries was a licensee of the MPEG-2

   pool license until December 31, 2010 and that it did not renew its license after that date.

   Motorola denies the remaining allegations of paragraph 30.

          31.     Denied.

          32.     Motorola admits that it did not renew its license to the patents-in-suit after

   January 1, 2011. Motorola denies the remaining allegations of paragraph 32 and specifically

   denies that it has committed any act of infringement.

          33.     Denied.

          34.     Denied.

          35.     Motorola admits that it has provided downstream parties with instructions and/or

   user guides indicating that its products employ the MPEG-2 Standard. Motorola denies the




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   remaining allegations of paragraph 35 and specifically denies that it has committed any act of

   infringement.

          36.      Denied.

          37.      Denied.

           COUNT I: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 7,376,184

          38.      Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   37.

          39.      Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 39 of the Complaint and, as such, denies the same.

          40.      Motorola admits that it has known of the ’184 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 40 of the Complaint and, as such, denies same.

          41.      Denied.

          42.      Denied.

          43.      Denied.

           COUNT II: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 6,097,759

          44.      Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   43.

          45.      Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 45 of the Complaint and, as such, denies the same.

          46.      Motorola admits that it has known of the ’759 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 46 of the Complaint and, as such, denies same.

          47.      Denied.


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          48.     Denied.

          49.     Denied.

          COUNT III: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 7,362,805

          50.     Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   49.

          51.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 51 of the Complaint and, as such, denies the same.

          52.     Motorola admits that it has known of the ’805 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 52 of the Complaint and, as such, denies same.

          53.     Denied.

          54.     Denied.

          55.     Denied.

          COUNT IV: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 5,606,539

          56.     Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   55.

          57.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 57 of the Complaint and, as such, denies the same.

          58.     Motorola admits that it has known of the ’539 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 58 of the Complaint and, as such, denies same.

          59.     Denied.

          60.     Denied.

          61.     Denied.


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           COUNT V: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 5,333,135

          62.     Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   61.

          63.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 63 of the Complaint and, as such, denies the same.

          64.     Motorola admits that it has known of the ’135 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 64 of the Complaint and, as such, denies same.

          65.     Denied.

          66.     Denied.

          67.     Denied.

          COUNT VI: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 5,422,676

          68.     Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   67.

          69.     Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 69 of the Complaint and, as such, denies the same.

          70.     Motorola admits that it has known of the ’676 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 70 of the Complaint and, as such, denies same.

          71.     Denied.

          72.     Denied.

          73.     Denied.

          COUNT VII: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 5,459,789

          74.     Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through


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   73.

          75.       Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 75 of the Complaint and, as such, denies the same.

          76.       Motorola admits that it has known of the ’789 patent at least since the filing of

   this lawsuit. Motorola is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of paragraph 76 of the Complaint and, as such, denies same.

          77.       Denied.

          78.       Denied.

          79.       Denied.

                                        EXCEPTIONAL CASE

          80.       Motorola re-alleges and incorporates by reference foregoing paragraphs 1 through

   79.

          81.       Denied.

                                       REQUEST FOR RELIEF

          Motorola denies that Plaintiffs are entitled to any of the grounds for relief enumerated in

   the Complaint.

                                            JURY DEMAND

          Motorola acknowledges that Plaintiffs demand a trial by jury. Motorola hereby requests

   a trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure.




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                                         GENERAL DENIAL

          Except as explicitly admitted herein, Motorola denies each and every allegation contained

   in Plaintiffs’ Complaint.

                               AFFIRMATIVE AND OTHER DEFENSES

           Motorola alleges and asserts the following affirmative and other defenses in response

    to the allegations of Plaintiffs’ Complaint without assuming any burden of proof that it would

    not otherwise have. In addition to the defenses described below and subject to its responses

    above, Motorola specifically reserves all rights to allege additional affirmative and other

    defenses that become known through the course of discovery.

                                          FIRST DEFENSE
                                       (Failure to State a Claim)

           Plaintiffs’ Complaint fails to state a claim upon which relief can be granted because

    Motorola has not performed any act or thing and is not proposing to perform any act or thing in

    violation of any rights validly belonging to Plaintiffs under the ’184 patent, the ’759 patent, the

    ’805 patent, the ’539 patent, the ’135 patent, the ’676 patent, or the ’789 patent.

                                         SECOND DEFENSE
                                          (No Infringement)

           Motorola does not infringe and has not infringed any valid and enforceable claim of

    the ’184 patent, the ’759 patent, the ’805 patent, the ’539 patent, the ’135 patent, the ’676

    patent, or the ’789 patent.

                                         THIRD DEFENSE
                                            (Invalidity)

           One or more claims of the ’184 patent, the ’759 patent, the ’805 patent, the ’539 patent,

    the ’135 patent, the ’676 patent, and/or the ’789 patent is invalid for failure to meet the




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    requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§101, 102,

    103 and/or 112.

                                       FOURTH DEFENSE
                          (Laches, Estoppel, Waiver and/or Acquiescence)

            Plaintiffs’ claims are barred by one or more of the doctrines of laches, estoppel,

    waiver and/or acquiescence, including but not limited to Plaintiffs’ unreasonable delay in

    asserting the ’184 patent, the ’759 patent, the ’805 patent, the ’539 patent, the ’135 patent,

    the ’676 patent, and/or the ’789 patent.

                                          FIFTH DEFENSE
                                    (Prosecution History Estoppel)

            Plaintiffs’ claims for relief are barred, in whole or in part, by the doctrine of

    prosecution history estoppel.

                                          SIXTH DEFENSE
                                       (Limitation of Damages)

            Plaintiffs’ claim for damages, if any, against Motorola is statutorily limited by 35 U.S.C.

   § 287.


                                        SEVENTH DEFENSE
                                       (Limitation of Damages)

            Under the provisions of 35 U.S.C. § 286, Plaintiff is precluded from seeking recovery

    for any of Motorola’s allegedly infringing acts occurring more than six years before the filing

    of the Complaint.

                                          EIGHTH DEFENSE
                                         (No Injunctive Relief)

            Plaintiffs are not entitled to any injunctive relief as it has, at a minimum, an

    adequate remedy at law and no irreparable alleged injury.




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                                          NINTH DEFENSE
                                          (Defenses reserved)

            Motorola reserves all affirmative defenses under Rule 8(c) of the Federal Rules of

    Civil Procedure, the Patent Laws of the United States, and any other defenses, at law or in

    equity, that may now exist or in the future be available based on discovery and further

    factual investigation in this case.




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                                          COUNTERCLAIM

          Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Motorola asserts the

   following counterclaims for declaratory judgment against Plaintiffs. Motorola expressly reserves

   the right to allege additional claims as they become known to Motorola through the course of

   discovery.

                                              PARTIES

          1.      Counterclaim Plaintiff Motorola Mobility LLC is a Delaware limited liability

   company, with its principal place of business at 600 N. U.S. Highway 45, Libertyville, IL

   60048-1296.

          2.      Counterclaim Defendant Mitsubishi Electric Corp. (“Mitsubishi”) purports to be

   a Japanese corporation, with its principal place of business in Tokyo, Japan.

          3.      Counterclaim Defendant Koninklijke Philips N.V. (“Philips”) purports to be a

   Netherlands corporation, with its principal place of business in Amsterdam, the Netherlands.

          4.      Counterclaim Defendant Thomson Licensing (“Thomson”) purports to be a

   French corporation, with its principal place of business in Issy-Les-Moulineaux, France.

                                    JURISDICTION AND VENUE

          5.      These counterclaims arise under the patent laws of the United States, 35 U.S.C,

   § 1, et seq., and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

          6.      This Court has subject matter jurisdiction over these Counterclaims pursuant to

   28 U.S.C. §§ 1331 and 1338 and 28 U.S.C. §§ 2201 and 2202.

          7.      By filing their Complaint, the counterclaim defendants have consented to the

   personal jurisdiction of this Court.

          8.      Venue is proper in this District pursuant to at least 28 U.S.C. §§ 1391(b) and



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   1400.


                                   COUNT I
           DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 7,376,184

             9.      Mitsubishi has alleged that Motorola infringes or has infringed United States

    Patent No. 7,376,184 (“the ’184 patent”).      Motorola denies that it infringes or has infringed

    any valid claim of the ’184 patent.

            10.      Thus, an actual, substantial controversy exists between Motorola and Mitsubishi

   as to whether Motorola infringes the ’184 patent.

             11.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

    Motorola is entitled to a declaration by the Court that it does not directly or indirectly

    infringe and has not infringed any claim of the ’184 patent.

                                      COUNT II
                  DECLARATION OF INVALIDITY OF U.S. PATENT NO. 7,376,184

            12.     Mitsubishi alleged that Motorola infringes or has infringed the ’184 patent.

            13.     One or more claims of the ’184 patent are invalid or void for failure to meet

   the requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101,

   102, 103 and/or 112.

            14.     Thus, an actual, substantial controversy exists between Motorola and

   Mitsubishi concerning the invalidity of the ’184 patent.

            15.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

   and 35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’184

   patent is invalid.




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                                COUNT III
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 6,097,759

          16.       Mitsubishi has alleged that Motorola infringes or has infringed United States

   Patent No. 6097,759 (“the ’759 patent”).    Motorola denies that it infringes or has infringed any

   valid claim of the ’759 patent.

          17.       Thus, an actual, substantial controversy exists between Motorola and Mitsubishi

   as to whether Motorola infringes the ’759 patent.

          18.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

   Motorola is entitled to a declaration by the Court that it does not directly or indirectly infringe

   and has not infringed any claim of the ’759 patent.

                                     COUNT IV
                 DECLARATION OF INVALIDITY OF U.S. PATENT NO. 6,097,759

          21.       Mitsubishi has alleged that Motorola infringes or has infringed the ’759 patent.

          22.       One or more claims of the ’759 patent are invalid or void for failure to meet the

   requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101, 102, 103

   and/or 112.

          23.       Thus, an actual, substantial controversy exists between Motorola and Mitsubishi

   concerning the invalidity of the ’759 patent.

          24.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., and

   35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’759 patent is

   invalid.




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                                 COUNT V
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 7,362,805

              25.   Mitsubishi has alleged that Motorola infringes or has infringed United States

    Patent No. 7,362,805 (“the ’805 patent”).     Motorola denies that it infringes or has infringed

    any valid claim of the ’805 patent.

              26.   Thus, an actual, substantial controversy exists between the parties as to whether

    Motorola infringes the ’805 patent.

              27.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

    Motorola is entitled to a declaration by the Court that it does not directly or indirectly

    infringe and has not infringed any claim of the ’805 patent.

                                    COUNT VI
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 7,362,805

              28.   Mitsubishi has alleged that Motorola infringes or has infringed the ’805

    patent.

              29.   One or more claims of the ’805 patent are invalid or void for failure to meet

    the requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101,

    102, 103 and/or 112.

              30.   Thus, an actual, substantial controversy exists between Motorola and

    Mitsubishi concerning the invalidity of the ’805 patent.

              31.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., and

    35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’805

    patent is invalid.




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                                COUNT VII
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,606,539

            32.     Philips has alleged that Motorola infringes or has infringed United States

    Patent No. 5,606,539 (“the ’539 patent”).     Motorola denies that it infringes or has infringed

    any valid claim of the ’539 patent.

            33.     Thus, an actual, substantial controversy exists between the parties as to whether

    Motorola infringes the ’539 patent.

            34.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

    Motorola is entitled to a declaration by the Court that it does not directly or indirectly

    infringe and has not infringed any claim of the ’539 patent.

                                  COUNT VIII
               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,606,539

            35.     Philips has alleged that Motorola infringes or has infringed the ’539 patent.

            36.     One or more claims of the ’539 patent are invalid or void for failure to meet

    the requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101,

    102, 103 and/or 112.

            37.     Thus, an actual, substantial controversy exists between Motorola and

    Philips concerning the invalidity of the ’539 patent.

            38.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., and

    35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’539

    patent is invalid.




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                                 COUNT IX
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,333,135

            39.     Philips has alleged that Motorola infringes or has infringed United States

    Patent No. 5,333,135 (“the ’135 patent”). Motorola denies that it infringes or has infringed

    any valid claim of the ’135 patent.

            40.     Thus, an actual, substantial controversy exists between the parties as to whether

    Motorola infringes the ’135 patent.

            41.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

    Motorola is entitled to a declaration by the Court that it does not directly or indirectly

    infringe and has not infringed any claim of the ’135 patent.

                                   COUNT X
               DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,333,135

            42.     Philips has alleged that Motorola infringes or has infringed the ’135 patent.

            43.     One or more claims of the ’135 patent are invalid or void for failure to meet

    the requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101,

    102, 103 and/or 112.

            44.     Thus, an actual, substantial controversy exists between Motorola and

    Philips concerning the invalidity of the ’135 patent.

            45.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., and

    35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’135

    patent is invalid.




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                                 COUNT XI
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,422,676

              46.   Thomson has alleged that Motorola infringes or has infringed United States

    Patent No. 5,422,676 (“the ’676 patent”).     Motorola denies that it infringes or has infringed

    any valid claim of the ’676 patent.

              47.   Thus, an actual, substantial controversy exists between the parties as to whether

    Motorola infringes the ’676 patent.

              48.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

    Motorola is entitled to a declaration by the Court that it does not directly or indirectly

    infringe and has not infringed any claim of the ’676 patent.

                                   COUNT XII
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,422,676

              49.   Thomson has alleged that Motorola infringes or has infringed the ’676

    patent.

              50.   One or more claims of the ’676 patent are invalid or void for failure to meet

    the requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101,

    102, 103 and/or 112.

              51.   Thus, an actual, substantial controversy exists between Motorola and

    Thomson concerning the invalidity of the ’676 patent.

              52.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., and

    35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’676

    patent is invalid.




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                                COUNT XIII
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,459,789

              53.   Thomson has alleged that Motorola infringes or has infringed United States

    Patent No. 5,459,789 (“the ’789 patent”).    Motorola denies that it infringes or has infringed

    any valid claim of the ’789 patent.


              54.   Thus, an actual, substantial controversy exists between Motorola and Thomson

    as to whether Motorola infringes the ’789 patent.


              55.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

    Motorola is entitled to a declaration by the Court that it does not directly or indirectly

    infringe and has not infringed any claim of the ’789 patent.

                                   COUNT XIV
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,459,789

              56.   Thomson has alleged that Motorola infringes or has infringed the ’789

    patent.

              57.   One or more claims of the ’789 patent are invalid or void for failure to meet

    the requirements of 35 U.S.C. and 37 C.F.R. including without limitation 35 U.S.C. §§ 101,

    102, 103 and/or 112.

              58.   Thus, an actual, substantial controversy exists between Motorola and

    Thomson concerning the invalidity of the ’789 patent.

              59.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., and

    35 U.S.C. § 100 et seq., Motorola is entitled to a declaration by the Court that the ’789

    patent is invalid.




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                                       EXCEPTIONAL CASE

           60.    To the extent this is an exceptional case under 35 U.S.C. § 285, Motorola is

    entitled to recovery from the counterclaim defendants of Motorola’s attorney’s fees and

    costs incurred in connection with this action.

                                       PRAYER FOR RELIEF

           61.    Motorola denies that the counterclaim defendants are entitled to any of the relief

    requested in their Request for Relief. Motorola further respectfully requests that this Court

    enter judgment in Motorola’s favor and against the counterclaim defendants by granting the

    following relief:

           a)      a declaration that the asserted claims of the ’184 patent, the ’759

    patent, the ’805 patent, the ’539 patent, the ’135 patent, the ’676 patent, and the

    ’789 patent are invalid and unenforceable;

           b)      a declaration that Motorola does not infringe, under any theory, any claim of the

    ’184 patent, the ’759 patent, the ’805 patent, the ’539 patent, the ’135 patent, the ’676 patent,

    or the ’789 patent that may be enforceable;

           c)      a declaration that the counterclaim defendants take nothing by their Complaint;

           d)      dismissal of the Complaint with prejudice;

           e)      judgment against the counterclaim defendants and in favor of Motorola;

           f)      an award to Motorola of its costs and attorneys’ fees incurred in this

           action; and

           k)      further relief as the Court may deem just and proper.




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                                             JURY DEMAND

            62.      Motorola hereby respectfully demands a jury trial of all issues triable to a jury in

   this action


   Dated:         September 9, 2013           Respectfully submitted,

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                                              -and-

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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 9, 2013, I electronically filed the foregoing
   document with the Clerk of the Court using the CM/ECF filing system. I also certify that the
   foregoing document is being served this date on all counsel of record or pro se parties on the
   Service List below in the manner specified, either via transmission of Notices of Electronic
   Filing generated by the CM/ECF system or; in some other authorized manner for those counsel
   or parties who are not authorized to receive electronically Notices of Electronic Filing.

                                              /s/ Edward M. Mullins___________________
                                              Edward M. Mullins (Fla. Bar No. 863920)




                                         SERVICE LIST
                     Mitsubishi Electric Corp., et al. v. Motorola Mobility LLC
                                   Case No.: 13-cv-80745-DMM
                     United States District Court, Southern District of Florida

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